         Case 1:19-cr-00018-ABJ Document 166 Filed 08/09/19 Page 1 of 3



                       1IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                    MOTION TO MODIFY PERMISSION TO TRAVEL

       Defendant, Roger J. Stone, Jr., files this Motion to modify his travel permit granted by the

Court [Dkt. 150]. The Court stated, inter alia, the “defendant may travel to Green Cove Springs,

Florida on August 20, 2019 and to Belleview, Florida on August, 21, 2019. ” Id. Stone’s Pretrial

approved travel itinerary includes him flying into Jacksonville, Florida (M.D. Fla.) on August 20,

2019, and driving straight to Green Cove Springs, Florida. Stone seeks permission via this Motion

to stop and attend a luncheon event in Jacksonville, for employment purposes, before driving on

to Green Cove Springs later that same day.

       Counsel has communicated with Mr. Stone’s Pretrial Services Officer who has stated

Pretrial Services has no objection to the filing of this motion and requested their office be kept

advised of the Court’s ruling. Mr. Stone has provided Pretrial Services with the requested detailed

documentation and will contact his Officer within the first business day by telepon upon his return.

The Government has been has also been contacted and has no objection to the relief sought.




                                                 1
          Case 1:19-cr-00018-ABJ Document 166 Filed 08/09/19 Page 2 of 3



         Mr. Stone respectfully requests that this Court grant this motion to modify his permission

to travel and allow Mr. Stone to travel to the the Middle District of Florida during the dates outlined

above.

                                                       Respectfully submitted,
                                                       By: /s/_______________

                                                    BRUCE S. ROGOW
 L. PETER FARKAS                                    FL Bar No.: 067999
 HALLORAN FARKAS + KITTILA, LLP                     TARA A. CAMPION
 DDC Bar No.: 99673                                 FL Bar: 90944
 1101 30th Street, NW                               BRUCE S. ROGOW, P.A.
 Suite 500                                          100 N.E. Third Avenue, Ste. 1000
 Washington, DC 20007                               Fort Lauderdale, FL 33301
 Telephone: (202) 559-1700                          Telephone: (954) 767-8909
 Fax: (302) 257-2019                                Fax: (954) 764-1530
 pf@hfk.law                                         brogow@rogowlaw.com
                                                    tcampion@rogowlaw.com
                                                    Admitted pro hac vice



 ROBERT C. BUSCHEL                                  GRANT J. SMITH
 BUSCHEL GIBBONS, P.A.                              STRATEGYSMITH, PA
 D.D.C. Bar No. FL0039                              D.D.C. Bar No.: FL0036
 One Financial Plaza, Suite 1300                    FL Bar No.: 935212
 100 S.E. Third Avenue                              401 East Las Olas Boulevard
 Fort Lauderdale, FL 33394                          Suite 130-120
 Telephone: (954) 530-5301                          Fort Lauderdale, FL 33301
 Fax: (954) 320-6932                                Telephone: (954) 328-9064
 Buschel@BGlaw-pa.com                               gsmith@strategysmith.com


 CHANDLER P. ROUTMAN
 D.D.C. Bar No. 1618092
 501 East Las Olas Blvd., Suite 331
 Fort Lauderdale, FL 33301
 Tele: (954) 235-8259
 routmanc@gmail.com




                                                  2
         Case 1:19-cr-00018-ABJ Document 166 Filed 08/09/19 Page 3 of 3



                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on August 9, 2019, I electronically filed the foregoing with the
Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all
counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by
CM/ECF.

                                             ___/s/ Chandler Routman _______________
                                                    Chandler Routman
     United States Attorney’s Office for the
              District of Columbia
 Jessie K. Liu
 United States Attorney
 Jonathan Kravis
 Michael J. Marando
 Assistant United States Attorneys
 Adam C. Jed
 Aaron S.J. Zelinsky
 Special Assistant United States Attorneys
 555 Fourth Street, NW
 Washington, DC 20530
 Telephone: (202) 252-6886
 Fax: (202) 651-3393




                                                3
